                   Case 3:24-cv-01738-EMC     Document 1-1    Filed 03/20/24      Page 1 of 3



    1   CHRISTOPHER WARD, CA Bar No. 238777
          cward@foley.com
    2   FOLEY & LARDNER LLP
        555 SOUTH FLOWER STREET, SUITE 3300
    3   LOS ANGELES, CA 90071-2418
        TELEPHONE: 213.972.4500
    4   FACSIMILE: 213.486.0065
    5   KEVIN JACKSON, CA Bar No. 278169
          kjackson@foley.com
    6   FOLEY & LARDNER LLP
        11988 EL CAMINO REAL, SUITE 400
    7   SAN DIEGO, CA 92130-2594
        TELEPHONE: 858.847.6700
    8   FACSIMILE: 858.792.6773
    9   Attorneys for Defendants AIRCRAFT SERVICE
        INTERNATIONAL, INC.; MENZIES AVIATION
  10    (USA), INC.; TRACY AGUILAR
  11

  12                                UNITED STATES DISTRICT COURT
  13                              NORTHERN DISTRICT OF CALIFORNIA
  14

  15    GEARY SHA, an individual,                        Case No. 3:24-cv-01738
  16                                        Plaintiff,   DECLARATION OF KEVIN JACKSON IN
                                                         SUPPORT OF DEFENDANT AIRCRAFT
  17                     vs.                             SERVICE INTERNATIONAL, INC.’S
                                                         NOTICE OF REMOVAL OF ACTION 28
  18    AIRCRAFT SERVICE INTERNATIONAL,                  U.S.C. § 1332 (DIVERSITY JURISDICTION)
        INC., a Delaware corporation; MENZIES
  19    AVIATION (USA), INC., a Delaware
        corporation; TRACY AGUILAR, an individual;
  20    and DOES 1 through 50, inclusive,
  21                                   Defendants.
  22

  23

  24

  25

  26

  27

  28

                          DECLARATION OF KEVIN JACKSON IN SUPPORT OF NOTICE OF REMOVAL
                                                                      Case No. 3:24-cv-01738
4865-3730-5261.1
                   Case 3:24-cv-01738-EMC          Document 1-1       Filed 03/20/24     Page 2 of 3



    1                                     DECLARATION OF KEVIN JACKSON
    2              I, Kevin Jackson, declares as follows:
    3              1.     I am an attorney admitted to practice law before this Court. I am Senior Counsel with the
    4   law firm of Foley & Lardner LLP, counsel of record for Aircraft Service International, Inc. (“ASI”),
    5   Menzies Aviation (USA), Inc. (“Menzies”), and Tracy Aguilera (“Aguilera”) 1 (collectively,
    6   “Defendants”) in the above-entitled matter. I am admitted to practice in the United States District Court
    7   for the Northern District of California. I have personal knowledge of the facts set forth in this
    8   Declaration and, if called as a witness, I could and would testify competently and under oath to the
    9   following facts.
  10               2.     I am informed and believe that Plaintiff Geary Sha (“Plaintiff”) filed a Complaint in the
  11    matter of Geary Sha v. Aircraft Services International, Inc., et al., Case No. CGC-23-606989 (Superior
  12    Court of the State of California, County of San Francisco) on or about June 9, 2023. A true and correct
  13    copy of the Complaint is attached hereto as Exhibit A.
  14               3.     On June 14, 2023, I received an email from Plaintiff’s counsel that included copies of a
  15    Notice and Acknowledgement of Receipt for Menzies and Aguilera, along with the Complaint,
  16    Summons, Civil Cover Sheet, and ADR Information Package. True and correct copies of the foregoing
  17    are attached hereto as Exhibits B and C.
  18               4.     On or about June 16, 2023, ASI informed me that it was served with the Complaint.
  19               5.     On July 5, 2023, my office returned a completed Notice and Acknowledgement of
  20    Receipt on behalf of Menzies and Aguilera via email to Plaintiff’s counsel. Conformed copies of the
  21    foregoing are attached hereto as Exhibits D and E.
  22               6.     On August 4, 2024, my office, on behalf of Defendants, issued a Notice of Deposition of
  23    Plaintiff for September 19, 2023, at 10:00 a.m., and subsequently met and conferred with Plaintiff’s
  24    counsel to ultimately select a mutually agreeable deposition date of February 6, 2024. A true and
  25    correct copy of the Notice of Deposition is attached hereto as Exhibit F.
  26               7.     On September 29, 2023, I received an email from Plaintiff’s counsel’s office with
  27    Plaintiff’s verified Responses to Defendants’ Special Interrogatories, Set One. A true and correct copy
  28
        1
            Plaintiff erroneously named Tracy Aguilera as “TRACY AGUILAR.”
                            DECLARATION OF KEVIN JACKSON IN SUPPORT OF NOTICE OF REMOVAL
                                                          -2-              Case No. 3:24-cv-01738
4865-3730-5261.1
                   Case 3:24-cv-01738-EMC           Document 1-1       Filed 03/20/24      Page 3 of 3



    1   of Plaintiff’s verified Responses to Defendants’ Special Interrogatories, Set One is attached hereto as
    2   Exhibit G.
    3              8.     On February 6, 2024, I took the deposition of Plaintiff via videoconference on behalf of
    4   Defendants.
    5              9.     On February 19, 2024, I received a certified transcript of Plaintiff’s February 6, 2024
    6   deposition from Aptus Court Reporting. A true and correct copy of the transmittal letter regarding the
    7   same is attached hereto as Exhibit H.
    8              10.    True and correct copies of relevant excerpts from the certified transcript of Plaintiff’s
    9   deposition are attached hereto as Exhibit I.
  10               11.    A true and correct copy of the document marked as Exhibit 22 at Plaintiff’s Deposition is
  11    attached hereto as Exhibit J.
  12               12.    A true and correct copy of the state court docket in the Superior Court of the State of
  13    California, County of San Francisco, is attached to the Jackson Declaration as Exhibit K.
  14               13.    True and correct copies of all process and pleadings filed with the San Francisco Superior
  15    Court are attached to the Jackson Declaration as Exhibit L.
  16               14.    ASI is filing with the Clerk of the San Francisco Superior Court, in which this action is
  17    currently pending, a Notice of Filing Notice of Removal, together with this Notice of Removal and
  18    supporting documents, pursuant to 28 U.S.C. section 1446(d). The Notice of Filing Notice of Removal
  19    together with this Notice of Removal are also being served on Plaintiff pursuant to 28 U.S.C. section
  20    1446(d).
  21               I declare under penalty of perjury, under the laws of the State of California that the foregoing is
  22    true and correct.
  23               Executed this 20th day of March, 2024, in San Diego, California.
  24

  25
                                                         /s/ Kevin Jackson
  26
                                                         KEVIN JACKSON
  27

  28

                            DECLARATION OF KEVIN JACKSON IN SUPPORT OF NOTICE OF REMOVAL
                                                  -3-                   Case No. 3:24-cv-01738
4865-3730-5261.1
